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                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Charlottesville Division



    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, JOHN DOE, and THOMAS
    BAKER,

                                      Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

        v.                                                   JURY TRIAL DEMANDED

        JASON KESSLER, et al.,

                                      Defendants.



          PLAINTIFFS’ RESPONSE TO DEFENDANT CANTWELL’S MOTION
     FOR SERVICE BY THE US MARSHALS SERVICE OF SUBPOENAS TO APPEAR
    AND TESTIFY UPON DWAYNE DIXON, THOMAS MASSEY, PAUL MINTON, AND
                              LINDSEY MOERS

             Defendant Christopher Cantwell moves the Court to direct its clerk to issue trial subpoenas

   to third-party witnesses Dwayne Dixon, Thomas Massey, Paul Minton, and Lindsey Moers, and

   to direct service by the U.S. Marshals Service (the “Motion”). ECF No. 1133. Cantwell attaches

   proposed subpoenas to compel attendance in Charlottesville, Virginia to be served on Mr. Dixon

   in Durham, North Carolina; on Messrs. Massey and Minton in Philadelphia, Pennsylvania; and on

   Ms. Moers in Holiday, Florida. See id., pp. 3-14. As grounds, Cantwell argues he “is in forma

   pauperis and these witnesses are dangerous violent felons, convicted or unconvicted . . . .” Id., ¶

   3.

             The Court should deny the Motion because federal district courts lack authority to compel

   attendance of out-of-state witnesses beyond 100 miles of the courthouse. Rule 45 sets clear limits



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   on who may be issued a trial subpoena. For a third-party witness, “[a] subpoena may command a

   person to attend a trial” only if the witness is either (a) “within 100 miles of where the person

   resides, is employed, or regularly transacts business in person” or (b) “within the state where the

   person resides, is employed, or regularly transacts business in person.” Fed. R. Civ. P. 45(c)(1)

   (emphasis added). Absent one of these circumstances, the Court lacks power to issue a subpoena.

   In re Guthrie, 733 F.2d 634, 637 (4th Cir. 1984) (“Thus, a nonparty witness outside the state in

   which the district court sits, and not within the 100-mile bulge, may not be compelled to attend a

   hearing or trial . . . .”)

           There is no legal basis for a party or a district court to disregard these limits on judicial

   authority, regardless of the party’s economic status or the alleged character of the witness. Issuing

   unauthorized or unenforceable commands to appear in Court would be an abuse of judicial process.

   I.d., 733 F.2d 634, 637; see generally U.S. Catholic Conference v. Abortion Rights Mobilization,

   Inc., 487 U.S. 72, 76 (1988) (“the subpoena power of a court cannot be more extensive than its

   jurisdiction.”); see also Uretek USA, Inc. v. Applied Polymerics, Inc., No. 3:11-CV-542, 2011 WL

   6029964, at *3 (E.D. Va. Dec. 5, 2011) (in determining whether to transfer venue to the Middle

   District of North Carolina, noting that third party witnesses resided in Virginia and were not subject

   to the subpoena power of M.D.N.C.).          Indeed, issuing subpoenas that are geographically

   unenforceable can be an ethical violation. See, e.g., Va. Legal Ethics Opinion 1495 (“[I]t would

   be improper . . . for a Virginia attorney to request a Virginia court to issue a subpoena duces tecum

   to obtain documents from an out-of-state individual.”).

           The proposed subpoenas fall outside the Court’s power to issue. It is plain on the face of

   the subpoenas that all the witnesses reside well beyond the permissible limits of Rule 45 – in North

   Carolina, Pennsylvania, and Florida – and the Motion lacks any suggestion, let alone evidence,




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   that any of the witnesses reside, are employed, or regularly transact business in Virginia or within

   100 miles of the Court.

          Accordingly, the Court lacks authority to issue the subpoenas and should deny the Motion.



   Dated: October 12, 2021                              Respectfully submitted,

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                                        CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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          I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
   se defendants, via electronic mail, as follows:

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          I hereby certify that on October 12, 2021, I also served the foregoing upon following pro
   se defendant, via U.S. mail, as follows:

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                                                          /s/ David E. Mills
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